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   Pg: 25 Ln: 23 - Pg: 26 Ln: 9



      Annotation:
        25:23     What were his responsibilities as a

            24    portfolio manager?

            25               A.    To the extent -- to the short time he

        26: 1     was in it, it would have been to help -- one, help

             2    bring in asset management business and then manage it,

             3    but I don't think he was in that position more than a

             4    couple months if I -- if I remember the time

             5    correctly.

             6               Q.    Okay.   Then after -- okay.    After

             7    portfolio manager, what was his job title?

             8               A.    We called it wealth advisor.

             9    Responsibility was business development.



   Pg: 26 Ln: 21 - Pg: 27 Ln: 12



      Annotation:
        26:21       D-o-m-e-l-e-n, Van Domelen?

            22               A.    That sounds right, yes.    That sounds

            23    right.

            24               Q.    And that was late 2016 or early 2017,

            25    you believe, but you're not --

        27: 1                A.    I believe so.   Yeah.

             2               Q.    What was he hired to do?

             3               A.    He was originally hired to -- his

             4    original title was investment associate, I think, and

             5    he was hired to provide day-to-day assistance to the




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             6    investment clients we had at that time, and also to

             7    help provide backup to our private banker when she was

             8    unavailable.

             9               Q.   Okay.    So investment associate to

            10    provide day-to-day assistance to investment accounts

            11    and to assist the private banker?

            12               A.   Yes.    That pretty well sums it up.



   Pg: 32 Ln: 16 - 25



      Annotation:
        32:16       Q.    Okay.   How about in 2018, was Mr. Barker

            17    still making the investment decisions for fiduciary

            18    accounts in the Aspen office?

            19               A.   I believe so.

            20               Q.   Okay.   Did you have anything to do with

            21    the investment decisions?

            22               A.   No.

            23               Q.   Okay.   Did Mr. Godfrey have anything to

            24    do with the investment decisions?

            25               A.   Not to my knowledge.



   Pg: 34 Ln: 25 - Pg: 35 Ln: 6



      Annotation:
        34:25     Q.     Okay.    Did you discuss with -- was

        35: 1     Mr. Barker the primary person making investment

             2    decisions in the Fleck accounts?

             3                    MR. STERN:     Objection, foundation.

             4               Q.   (BY MR. PODOLL) If you know.




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             5                 A.     As the portfolio manager, that was, I

             6    believe, his responsibility.



   Pg: 35 Ln: 7 - 12



      Annotation:
        35: 7          Q.    Do you know if Mr. Barker was making

             8    investment decisions hands-on or if others were making

             9    investment decisions for him?

            10                 A.     I don't.

            11                 Q.     Did you ever inquire?

            12                 A.     Not to my recollection.



   Pg: 35 Ln: 13 - 17



      Annotation:
        35:13          Q.    Okay.    Who in the Aspen office of First

            14    Western Trust Bank was involved in making investment

            15    decisions in regard to the assets of Aaron and Barbara

            16    Fleck?

            17                 A.     No one in this office.



   Pg: 35 Ln: 18 - 23



      Annotation:
        35:18     Q.        Okay.    Do you have an understanding of

            19    Mr. Barker's credentials to invest money in a

            20    fiduciary capacity?

            21                 A.     I don't recollect his -- I don't

            22    recollect his credentials if he had any initials




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            23    behind his name.



   Pg: 36 Ln: 9 - Pg: 37 Ln: 6



      Annotation:
        36: 9     Q.     Okay.    By "this" you mean actually being

            10    a person who decides what -- how the assets in a

            11    fiduciary account should be invested?

            12               A.    Being a portfolio manager.

            13               Q.    Okay.     Did you ever in his quarterly

            14    visits or any of your conversations with Mr. Barker

            15    discuss with him his investment philosophy or how he

            16    was investing accounts in fiduciary -- how he was

            17    investing money into fiduciary accounts entrusted to

            18    the Aspen office?

            19               A.    No.     Not to my recollection.

            20               Q.    So you just left it to Mr. Barker and

            21    assumed he would do everything okay?

            22               A.    No.

            23               Q.    Okay.     What did you do to satisfy

            24    yourself that the monies being invested in fiduciary

            25    accounts entrusted to the Aspen office were being

        37: 1     properly invested or appropriately invested by the

             2    portfolio manager?

             3               A.    First Western Trust has a system set up

             4    so that the portfolio managers have a limited range of

             5    options and they're also governed by -- governed by,

             6    among other things, the IPS.



   Pg: 37 Ln: 20 - 23




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      Annotation:
        37:20       Q.    How many times have you discussed with

            21    Mr. Barker how he approached investments and how he

            22    met client's needs, how many separate occasions?

            23               A.     I don't recall.



   Pg: 37 Ln: 24 - Pg: 38 Ln: 3



      Annotation:
        37:24     Q.     Okay.     Do you recall prior to May of

            25    2019 ever discussing with Mr. Barker how he approached

        38: 1     investing money in fiduciary accounts and how the

             2    systems worked?

             3               A.     Again, no recollection.



   Pg: 38 Ln: 20 - Pg: 39 Ln: 13



      Annotation:
        38:20     Q.     Okay.      How does the system work?

            21               A.      Understanding that this is not an area

            22    of expertise for me, this is what I'm going to tell

            23    you is my observation after some years with the

            24    company.        Going from the top down, it starts with the

            25    investment policy committee, which sets overall

        39: 1     parameters, I believe, for how we invest client's

             2    funds, considers all sorts of macro and micro economic

             3    indicators.        There is adjusted weightings within

             4    portfolio models.        Then there's a small group that

             5    monitors all of the funds that we keep on our platform




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             6    to invest client funds in.         Then the portfolio

             7    managers working with clients determine which -- you

             8    know, risk tolerance level, what the needs for the

             9    funds are and then working within the system as

            10    designed, create a portfolio out of the funds

            11    available and within the tolerances for the level of

            12    risk that the investment policy committee has set and

            13    then those accounts are reviewed periodically.



   Pg: 39 Ln: 19 - 24



      Annotation:
        39:19          Q.    Let me break it down.   I'm sorry.   The

            20    investment policy committee doesn't decide how assets

            21    in fiduciary accounts are specifically invested?        In

            22    other words, what securities to buy, what funds to

            23    buy, they just set policy; is that right?

            24                 A.   To my understanding.



   Pg: 39 Ln: 25 - Pg: 40 Ln: 4



      Annotation:
        39:25     Q.        All right.   And the group that monitors

        40: 1     the funds doesn't decide on specific funds that were

             2    purchased in the fiduciary accounts; is that correct?

             3    They just monitor the funds; is that right?

             4                 A.   Again, to my understanding.



   Pg: 40 Ln: 5 - 10




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      Annotation:
        40: 5     Q.     And the portfolio manager is the one who

             6    makes the specific investment decisions, what

             7    securities to buy, what funds to buy, what ETFs to

             8    buy, how to invest the assets within the account; is

             9    that correct?

            10               A.     Again, that's my understanding, yes.



   Pg: 40 Ln: 11 - 20



      Annotation:
        40:11     Q.     Okay.     And the investments are

            12    periodically reviewed by someone; is that correct?

            13               A.     Yes.   Yes.

            14               Q.     How frequently are investments in

            15    fiduciary accounts reviewed to your knowledge?

            16               A.     With the client, at least quarterly.

            17    Internally, I believe there is a review and I'm not

            18    quite sure of the time frame of all accounts, and

            19    those that are outside of the recommended parameters

            20    are tagged for discussion.



   Pg: 40 Ln: 21 - Pg: 41 Ln: 11



      Annotation:
        40:21     Q.     Okay.     I'm sorry, what is tagged for

            22    discussion?

            23               A.     They're flagged for discussion if

            24    there's more equity or, you know, more fixed income

            25    than is set -- that is -- if either of those, for




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        41: 1         example, were outside the parameters of what the

             2        investment policy committee calls for or if

             3        performance might have been outside of parameters,

             4        they're flagged and they're reviewed.

             5                Q.   Flagged by who?

             6                A.   Someone.      I don't know who.

             7                Q.   Reviewed by who?

             8                A.   I believe the investment policy

             9        committee, but I could be wrong.

            10                Q.   Okay.   How frequently?

            11                A.   I don't know.      Periodically.



   Pg: 42 Ln: 1 - 9



       Annotation:
        42: 1         Q.   Do you know if Mr. Barker ever met with

             2        Aaron and Barbara Fleck to review his investment

             3        decisions or how he was investing the assets in their

             4        trust accounts?

             5                A.   Yes, he did.

             6                Q.   When?

             7                A.   I believe one meeting was November 6, if

             8        I recall, 2018.    There were probably others that I was

             9        not involved in.



   Pg: 43 Ln: 6 - 21



       Annotation:
        43: 6         To your knowledge, did Mr. Barker ever meet

             7        with Aaron or Barbara Fleck?




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             8                A.   Yes, he did.

             9                Q.   Okay.   When was that, prior to November

            10        6 of 2018?

            11                A.   Possibly, I don't recall a specific date

            12        prior to then.

            13                Q.   When and where?

            14                A.   I don't know.

            15                Q.   Where, Aspen, did he ever --

            16                A.   Likely in our office.

            17                Q.   But you don't have a specific

            18        recollection of it, you're just thinking it's

            19        something that may have happened?

            20                A.   I didn't attend all those meetings.     He

            21        may well have.



   Pg: 44 Ln: 4 - 9



       Annotation:
        44: 4          Q.   And is it fair to say that you can't

             5        tell me a specific time that Mr. Barker ever met with

             6        Aaron or Barbara Fleck to discuss specific investments

             7        he was making in their accounts, is that accurate?

             8                A.   Outside of the November 6 meeting, which

             9        I attended, I can't name a specific time, no.



   Pg: 44 Ln: 20 - Pg: 45 Ln: 4



       Annotation:
        44:20          Q.   (BY MR. PODOLL) Okay.    Mr. Bantis, in

            21        2018, how many fiduciary accounts were being




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           22     administered by First Western Trust Bank in the Denver

           23     office?

           24                     MR. STERN:    Objection, foundation.

           25                A.   I don't know.

       45: 1                 Q.   (BY MR. PODOLL) Okay.    Do you know the

            2     asset -- the value of the assets under administration

            3     in the First Western Trust Bank Denver office?

            4                A.   No.



  Pg: 45 Ln: 8 - 11



      Annotation:
       45: 8          Do you know if investment decisions were

            9     made in the Fleck accounts by anyone other than Doug

           10     Barker in the Denver office?

           11                A.   No.



  Pg: 45 Ln: 12 - 18



      Annotation:
       45:12      Q.      Okay.   And from your prior testimony, is

           13     my understanding correct that as the market president

           14     in the Aspen office, you relied upon the Denver office

           15     to make investment decisions in regard to fiduciary

           16     accounts and assets under administration and those

           17     fiduciary accounts?

           18                A.    Yes.



  Pg: 45 Ln: 22 - Pg: 46 Ln: 15




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     Annotation:
       45:22     Q.     Did you work with anyone other than

           23    Mr. Barker?

           24               A.     With regard to the Flecks or in general?

           25               Q.     With regard to investing assets in

       46: 1     fiduciary accounts.

            2               A.     As I said at the time, earlier I said we

            3    worked with the group out in Los Angeles for specific

            4    accounts that needed their expertise.        Occasionally

            5    John Sawyer would become involved for a larger

            6    prospect.       That's about what I can recall.

            7               Q.     Okay.   Did the bond group in Los Angeles

            8    make individual investment decisions for assets held

            9    in fiduciary accounts in the Aspen office or was it

           10    just sort of an overview process of reviewing the

           11    quality of bonds?

           12               A.     They -- no, they managed a bond

           13    portfolio for a specific or two specific clients.

           14               Q.     Okay.   Was Mr. Fleck one of them?

           15               A.     Not to my knowledge.



  Pg: 46 Ln: 16 - 19



     Annotation:
       46:16       Q.    Okay.    And John Sawyer, who is John

           17    Sawyer?

           18               A.    John Sawyer is our chief investment

           19    officer.



  Pg: 46 Ln: 24 - Pg: 47 Ln: 2




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      Annotation:
       46:24          Q.     And do you know if he ever had anything

           25        to do with making specific investment decisions in the

       47: 1         Flecks' accounts?

            2                  A.     I do not know.



  Pg: 47 Ln: 3 - 8



      Annotation:
       47: 3         Q.      Okay.    So is it fair to say that as far

            4        as providing trust and fiduciary services, the Aspen

            5        office of First Western Trust Bank delegated that

            6        function to the Denver office of First Western Trust

            7        Bank?

            8                   A.     Yes.



  Pg: 48 Ln: 2 - 9



      Annotation:
       48: 2         Q.      Right.   So we know that the Flecks'

            3        accounts were fiduciary accounts, correct?

            4                   A.    Right.

            5                   Q.    And First Western Trust Bank was

            6        entrusted with the responsibility of making

            7        investments with the assets in those accounts,

            8        correct?

            9                   A.    Correct.



  Pg: 48 Ln: 21 - Pg: 49 Ln: 3




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     Annotation:
       48:21     Q.      Do you know the dollar -- the asset

           22    value of the fiduciary accounts that First Western

           23    Trust Bank manages in its Denver office in 2018?

           24               A.    I -- I do not know.

           25               Q.    Did you ever discuss that with

       49: 1     Mr. Barker?

            2               A.    I have no recollection of that.   No

            3    idea.



  Pg: 49 Ln: 14 - 24



     Annotation:
       49:14       Q.     What knowledge do you have of how

           15    Mr. Barker's investment activities were supervised?

           16               A.    The knowledge I have is what I had said

           17    before.     There was a system by which the -- by which

           18    the portfolio managers had to operate within.

           19               Q.    Did Mr. Barker report to you in any

           20    capacity?

           21               A.    No.

           22               Q.    Do you know who he directly reported to?

           23               A.    No, I don't -- no, I don't know who he

           24    directly reported to.



  Pg: 50 Ln: 22 - Pg: 51 Ln: 4



     Annotation:
       50:22       Q.     Okay.   But aside from the system, you




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           23        don't know if individuals, live people, actually had

           24        any oversight or supervision over what Mr. Barker was

           25        buying and selling on a daily basis?

       51: 1                       MR. STERN:   Objection to the form of the

            2        question.

            3                 Q.   (BY MR. PODOLL) You can answer.

            4                 A.   I do not.



  Pg: 51 Ln: 5 - 9



      Annotation:
       51: 5          Q.    And do you recall -- do you know if

            6        there was any person who regularly supervised what

            7        Mr. Barker was buying or selling in the Fleck

            8        accounts?

            9                 A.   I don't know.



  Pg: 51 Ln: 10 - 19



      Annotation:
       51:10         Q.    Some of the materials I've reviewed,

           11        promotional materials, indicated that First Western

           12        Trust Bank had a team approach -- a team approach to

           13        investment, are you aware of that?

           14                 A.   Yes.

           15                 Q.   What was the team approach?

           16                 A.   Team approach is that the portfolio

           17        manager does not work in a vacuum.     The system, as I

           18        described it, is there for them to -- to support them

           19        and help make good decisions.




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  Pg: 51 Ln: 20 - 24



     Annotation:
       51:20       Q.    So your understanding of the team

           21    approach is that the portfolio manager can rely on

           22    systems that are in place, is that a fair

           23    characterization?

           24               A.    Yes.



  Pg: 52 Ln: 23 - Pg: 53 Ln: 4



     Annotation:
       52:23     Q.     Sure.    To your understanding, is the

           24    portfolio manager, Mr. Barker, in the case of the

           25    Flecks, responsible for creating an investment

       53: 1     strategy for the assets in the Flecks' fiduciary

            2    accounts?

            3               A.    My understanding is that that is -- that

            4    is done on a joint basis with the clients.



  Pg: 53 Ln: 10 - 13



     Annotation:
       53:10     Q.     Are you aware of any specific phone call

           11    or meeting between Mr. Barker and the Flecks for the

           12    purpose of forming an investment strategy?

           13               A.    I don't recall any specific meetings.



  Pg: 53 Ln: 20 - 24




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     Annotation:
       53:20     Q.     How about registered investment

           21    advisors; to your knowledge, are there any registered

           22    investment advisors in the Denver office?

           23               A.    To my knowledge, no.   As a bank, we

           24    don't do RIA.      We're separate.



  Pg: 53 Ln: 25 - Pg: 54 Ln: 4



     Annotation:
       53:25     Q.     Okay.    Are you aware of any written

       54: 1     policies in regard to investing monies or assets in

            2    fiduciary accounts that First Western Trust Bank has?

            3               A.    Specifically, no.   I know we have

            4    policies.



  Pg: 54 Ln: 11 - 14



     Annotation:
       54:11     Q.     Have you ever seen a written policy

           12    statement in regard to investing assets in a fiduciary

           13    account?

           14               A.    Not to my recollection.



  Pg: 54 Ln: 21 - Pg: 55 Ln: 5



     Annotation:
       54:21     Q.     Okay.    To your understanding, does a

           22    regulatory requirement of know your client apply to




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           23    the individual who is tasked with the responsibility

           24    of investing the client's money?

           25                     MR. STERN:    Objection, foundation.

       55: 1                Q.    (BY MR. PODOLL) You can answer.

            2               A.    I believe the responsibility for that

            3    lies elsewhere.

            4               Q.    Okay.   Where does it lie?

            5               A.    Typically at the office level.



  Pg: 55 Ln: 8 - Pg: 56 Ln: 2



     Annotation:
       55: 8     Q.     So let me see if I understand your

            9    testimony.      The regulatory requirement of know your

           10    client means, to you, that the Aspen office has to

           11    know its client, but if the Aspen office delegates the

           12    function of investing client's money to the Denver

           13    office, the people investing the client's money in the

           14    Denver office do not have to know your client, is that

           15    what you're saying?

           16               A.    In the regulatory sense, that only has

           17    to be done once at the institutional level, and there

           18    are certain documents and parameters around meeting

           19    the regulatory requirements.       Once it's been done, it

           20    does not need to be done again.

           21               Q.    Okay.   So if I'm understanding you

           22    correctly, once the paperwork is filled out, as you --

           23    is what you testified to as a regulatory requirement,

           24    it wouldn't be necessary for the person who is

           25    actually doing the investment 100 miles away to know




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       56: 1     your client?

            2               A.   From a regulatory perspective, no.



  Pg: 56 Ln: 20 - 24



     Annotation:
       56:20       Q.     (BY MR. PODOLL) Is it your understanding

           21    that no meeting took place between Mr. Barker and

           22    Aaron Fleck between February of 2018 and November 6 of

           23    2018?

           24               A.    I don't know.



  Pg: 56 Ln: 25 - Pg: 57 Ln: 6



     Annotation:
       56:25     Q.      Okay.   Could you tell me your

       57: 1     understanding of how Mr. Barker knows your client in

            2    regard to Aaron Fleck?

            3               A.    Clearly from the fact they had a meeting

            4    in February, he had been introduced.

            5               Q.    Okay.   Anything else?

            6               A.    No.



  Pg: 57 Ln: 23 - Pg: 58 Ln: 1



     Annotation:
       57:23     Q.      Okay.   Other than what's published under

           24    intranet page, are there other written policies or

           25    guidelines in regard to know your client?

       58: 1                A.    None that I'm aware of.




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  Pg: 59 Ln: 25 - Pg: 60 Ln: 10



      Annotation:
       59:25         Now, besides those two meetings, okay,

       60: 1         and Mr. Fleck dropping in, and telephone calls with

            2        Mr. Fleck, was there any time between May of 2018 and

            3        November of 2018 where you or anyone else sat down

            4        with Mr. Fleck to review his investments in his

            5        accounts, investment strategy, the performance of his

            6        accounts?

            7                      MR. STERN:   Objection, foundation.

            8                 Q.   (BY MR. PODOLL)   You can answer.

            9                 A.   I did not and I don't know that anyone

           10        else did or did not.



  Pg: 67 Ln: 3 - 8



      Annotation:
       67: 3         Q.   Did you take any steps whatsoever in

            4        2018 to assure the money in Aaron and Barbara Fleck's

            5        trust account was being appropriately invested

            6        consistent with their needs and fiduciary standards?

            7                 A.   No, and it was not my responsibility to

            8        do so.



  Pg: 67 Ln: 12 - 19



      Annotation:
       67:12         Q.   So Mr. Barker was the portfolio manager.




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           13    It would have been his -- to your understanding, would

           14    it have been his responsibility to assure that the

           15    money in Aaron and Barbara Fleck's trust account was

           16    being appropriately invested consistent with their

           17    needs and fiduciary standards?

           18               A.   His responsibility was to be sure the

           19    money was invested according to the IPS.



  Pg: 67 Ln: 20 - Pg: 68 Ln: 2



     Annotation:
       67:20     Q.     And fiduciary standards; is that

           21    correct?

           22               A.   And fiduciary standards, yes.

           23               Q.   Okay.   Was there anyone else responsible

           24    for assuring that the Flecks' assets were being

           25    appropriately invested consistent with their needs and

       68: 1     fiduciary standards?

            2               A.   I can't name anyone specific.



  Pg: 69 Ln: 19 - 23



     Annotation:
       69:19     Q.     Can you tell me your understanding,

           20    Mr. Bantis, of what it means to be a fiduciary?

           21               A.   Being a fiduciary means placing the

           22    client's interest first with -- unless -- unless it

           23    potentially could be detrimental to the institutions.



  Pg: 69 Ln: 24 - Pg: 70 Ln: 9




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     Annotation:
       69:24     Q.     Okay.     Let me break that down.   The

           25    first thing you said is a fiduciary -- in a fiduciary

       70: 1     relationship, you have to put the client's interest

            2    first; is that correct?

            3               A.     Yes.

            4               Q.     Okay.   Are you telling me an exception

            5    to that is if putting the client's interest first

            6    would be somehow detrimental to the institution?

            7               A.     I think in that case, we would probably

            8    no longer have -- we would ask the client to leave if

            9    that ever became the case.



  Pg: 70 Ln: 10 - 16



     Annotation:
       70:10     Q.     Okay.     Would you agree with me that as

           11    long as you manage in a fiduciary capacity, being a

           12    fiduciary means you put the client's interest first

           13    period, whether it's detrimental to the institution or

           14    not?

           15               A.     That's contradictory, I would not agree

           16    with that statement.



  Pg: 70 Ln: 25 - Pg: 71 Ln: 13



     Annotation:
       70:25     Q.     Sure.     So it wasn't an answer at all.

       71: 1                       To your understanding, would it be a --




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            2    would it be proper when serving in a fiduciary role to

            3    not put a client's interest first if putting the

            4    client's interest first would be detrimental to the

            5    institution?

            6             A.     As I said just a moment ago, I think in

            7    a situation like that, we would ask the client to

            8    leave if we felt that -- this is how it's been

            9    explained to me -- well, how I interpret what you're

           10    saying is if something that was in the client's

           11    interest was detrimental to us as an institution, we

           12    wouldn't do it, but we would ask the client to go

           13    elsewhere.



  Pg: 71 Ln: 14 - 19



     Annotation:
       71:14     Q.    Okay.    But in that time period when

           15    we're not doing it and a client hasn't gone elsewhere,

           16    isn't it fair that you still have to act -- put the

           17    client's interest first even if it is detrimental to

           18    the institution?

           19             A.     I don't know the answer to that.



  Pg: 73 Ln: 9 - 16



     Annotation:
       73: 9     Q.    Tell me your understanding of the

           10    primary fiduciary duties.

           11                    MR. STERN:     Objection, foundation.

           12             Q.     (BY MR. PODOLL)     If you have one.    If




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           13    you don't, you can so state.

           14              A.    Like I said before, that we try -- we

           15    try to place the client's interests first and serve

           16    the client's needs.



  Pg: 74 Ln: 16 - 23



     Annotation:
       74:16       Q.    (BY MR. PODOLL)        Put the interest of the

           17    client first; is that right?

           18              A.    Well, the total extent of what I said

           19    before.

           20              Q.    What does that mean?

           21              A.    It means put the client's interest first

           22    unless it might be, in some way, detrimental to the

           23    institution.



  Pg: 75 Ln: 15 - 25



     Annotation:
       75:15     Q.     So based on that answer, is it your

           16    testimony that because you are an officer of the bank,

           17    even in a role of a fiduciary, you cannot have

           18    undivided loyalty to the client?

           19                    MR. STERN:      Objection to the form of the

           20    question.

           21              A.    I don't know.      What we're doing depends

           22    on what we're doing with that client.

           23              Q.    (BY MR. PODOLL)      Excuse me?

           24              A.    I think it would depend upon what




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          25    business we are working with that client on.




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